Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 1 of 16 PageID: 1820




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 KIMBERLY GREMO,                    )
                                    )
                 Plaintiff,         )
                                    )
  v.                                )
                                    )
 BAYER CORPORATION; BAYER           )                 Civil Action No. 1:19-cv-13432-NLH-AMD
 HEALTHCARE LLC; BAYER              )
 HEALTHCARE PHARMACEUTICALS,        )
 INC.; GE HEALTHCARE, INC.; GENERAL )                   Honorable Noel L. Hillman, U.S.D.J.
 ELECTRIC COMPANY;                  )                   Honorable Ann Marie Donio, U.S.M.J.
 MALLINCKRODT, INC.;                )
 MALLINCKRODT LLC; GUERBERT LLC; )
 LIEBEL-FLARSHEIM COMPANY LLC;      )                   ORAL ARGUMENT REQUESTED
 AMERISOURCE BERGEN                 )
 CORPORATION; AMERISOURCE           )                     Motion Day: October 21, 2019
 BERGEN DRUG CORPORATION,           )
                                    )
                 Defendants.        )


 ______________________________________________________________________________

      REPLY IN SUPPORT OF DEFENDANTS BAYER CORPORATION, BAYER
      HEALTHCARE LLC AND BAYER HEALTHCARE PHARMACEUTICALS
            INC.’S MOTION TO DISMISS THE AMENDED COMPLAINT
 ______________________________________________________________________________


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 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 2 of 16 PageID: 1821




                                                    TABLE OF CONTENTS

 TABLE OF AUTHORITIES ....................................................................................................... ii

 I.        PLAINTIFF CONCEDES THAT “GADOLINIUM RETENTION” IS NOT A
           FREESTANDING LEGALLY COGNIZABLE INJURY .............................................1

 II.       CLAIMS BASED ON PLAINTIFF’S OTHER ALLEGED INJURIES ARE
           PREEMPTED ....................................................................................................................1

           A.         Gibbons, Celexa, McGrath, Klein, and Goodell Are Consistent with
                      Albrecht and Show that Plaintiff Must Plead a Labeling Deficiency that
                      Could Have Been Corrected Using the CBE Regulation.........................................2

           B.         Plaintiff Identifies No “Newly Acquired Information” That Would Have
                      Permitted Bayer to Add a Warning to Magnevist’s Label .......................................4

                      1.         Plaintiff points to nothing permitting Bayer to add her proposed
                                 warning at the relevant time.........................................................................4

                      2.         Plaintiff does not argue that the FDA was unaware of any
                                 information in the Complaint .......................................................................6

           C.         Clear Evidence Shows that the FDA Would Have Rejected Plaintiff’s
                      Proposed Label Change ...........................................................................................6

           D.         Any Design Defect Claim Is Preempted ..................................................................7

 III.      PLAINTIFF’S CLAIMS ARE TIME-BARRED ............................................................8

 IV.       PLAINTIFF’S CLAIMS ARE BARRED BY STATE-LAW DOCTRINES AND
           FEDERAL PLEADING RULES ......................................................................................9

           A.         Plaintiff’s Claims Are Barred by New Jersey’s Super-Presumption of
                      Adequacy for FDA-Approved Warnings .................................................................9

           B.         Plaintiff’s Express Warranty Claim Should Be Dismissed Because
                      Plaintiff Failed to Plead a Specific Warranty. .......................................................10

           C.         Plaintiff Concedes that “Count IV” Does Not Make Any Claims .........................10

           D.         New Jersey Law Bars Plaintiff’s Request for Punitive Damages ..........................10

           E.         Plaintiff Fails to Plead an Injury That Was Reasonably Foreseeable to
                      Bayer ......................................................................................................................11

 CONCLUSION ............................................................................................................................12

                                                                         i


 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 3 of 16 PageID: 1822




                                                TABLE OF AUTHORITIES

 Cases

 Adams v. Teamsters Local 115,
   214 F. App'x 167 (3d Cir. 2007) ................................................................................................. 9

 Baker v. APP Pharms.,
   2010 WL 4941454 (D.N.J. Nov. 30, 2010) .............................................................................. 11

 Bedoya v. Am. Eagle Express Inc.,
   914 F.3d 812 (3d Cir. 2019) ....................................................................................................... 4

 Davis v. McKesson Corp.,
   2019 WL 3532179 (D. Ariz. Aug. 2, 2019) ................................................................................ 7

 Egli v. Chester Cty. Library Sys.,
   2019 WL 3777032 (E.D. Pa. Aug. 12, 2019) ............................................................................. 9

 Forman v. Novartis Pharm. Corp.,
   793 F. Supp. 2d 598 (E.D.N.Y. 2011) ...................................................................................... 11

 Gibbons v. Bristol-Myers Squibb Co.,
   919 F.3d 699 (2d Cir. 2019) ............................................................................................... 1, 2, 6

 Goodell v. Bayer HealthCare Pharm. Inc.,
   2019 WL 4771136 (D. Mass. Sept. 30, 2019) ............................................................................ 2

 Guenther v. Novartis Pharm. Corp.,
   2013 WL 1225391(M.D. Fla. Mar. 27, 2013) .......................................................................... 11

 In re Celexa & Lexapro Mktg. & Sales Practices Litig.,
    779 F.3d 34 (1st Cir. 2015) ......................................................................................................... 2

 In re Fosamax (Alendronate Sodium) Prods. Liab. Litig.,
    852 F.3d 268 (3d Cir. 2017) ....................................................................................................... 3

 In re Valeant Pharm. Int’l, Inc., Sec. Litig.,
    2019 WL 2724075 (D.N.J. June 30, 2019) ................................................................................. 8

 Klein v. Bayer HealthCare Pharm. Inc.,
   2019 WL 3945652 (D. Nev. Aug. 21, 2019) .............................................................................. 2

 Maze v. Bayer Healthcare Pharm. Inc.,
  2019 WL 1062387 (E.D. Tenn. Mar. 6, 2019) ........................................................................... 5



                                                                     ii


 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 4 of 16 PageID: 1823




 McDarby v. Merck & Co., Inc.,
  401 N.J. Super. 10 (App. Div. 2008) ........................................................................................ 10

 McGrath v. Bayer HealthCare Pharm. Inc.,
  393 F. Supp. 3d 161 (E.D.N.Y. 2019) .............................................................................. 2, 3, 11

 Mendez v. Shah,
  28 F. Supp. 3d 282 (D.N.J. 2014) ............................................................................................. 10

 Merck Sharp & Dohme Corp. v. Albrecht,
  139 S. Ct. 1668 (2019) ........................................................................................................ 2, 3, 6

 Murthy v. Abbott Labs.,
  847 F. Supp. 2d 958 (S.D. Tex. 2012) ........................................................................................ 9

 Mut. Pharm. Co., Inc., v. Bartlett,
  570 U.S. 472 (2013) ................................................................................................................ 7, 8

 PLIVA, Inc. v. Mensing,
   564 U.S. 604 (2011) .................................................................................................................... 4

 Stanger v. APP Pharms., LLC,
   2010 WL 4941451 (D.N.J. Nov. 30, 2010) .............................................................................. 11

 Utts v. Bristol-Myers Squibb Co.,
   226 F. Supp. 3d 166 (S.D.N.Y. 2016) ........................................................................................ 3

 Wyeth v. Levine,
  555 U.S. 555 (2009) .................................................................................................................... 3

 Yates v. Ortho-McNeil-Janssen Pharm., Inc.,
   808 F.3d 281 (6th Cir. 2015) ...................................................................................................... 8

 Statutes

 N.J.S.A. § 2A:58C-5 ..................................................................................................................... 11




                                                                     iii


 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 5 of 16 PageID: 1824




         Plaintiff’s Opposition does not meaningfully address the arguments in Bayer’s Motion to

 Dismiss. 1 , 2 First, Plaintiff agrees that her claim of “gadolinium retention” is not a legally

 cognizable injury. Second, Plaintiff identifies nothing to show that her claims survive federal

 preemption. Third, Plaintiff’s claims are time-barred under New Jersey’s two-year statute-of-

 limitations for product liability claims. Fourth, Plaintiff’s claims fail under New Jersey law and

 federal pleading rules. Bayer accordingly requests dismissal with prejudice.

 I.      PLAINTIFF CONCEDES THAT “GADOLINIUM RETENTION” IS NOT A
         FREESTANDING LEGALLY COGNIZABLE INJURY

         Plaintiff concedes that gadolinium “retention”—meaning trace amounts of gadolinium

 remain in a patient’s body for some time—cannot serve as a freestanding legally cognizable

 injury. See Pl. Opp. to Mallinckrodt Mot. to Dismiss, Dkt. No. 85 at 19 n.7. That is unsurprising

 because Plaintiff claims that her injuries are symptoms supposedly resulting from retention—not

 retention itself. See Am. Compl. ¶ 166. See also Bayer Mot. at 25-26.

 II.     CLAIMS BASED ON PLAINTIFF’S OTHER ALLEGED INJURIES ARE
         PREEMPTED

         Plaintiff fails to rebut Bayer’s preemption arguments. Bayer Mot. at 4-15. Specifically,

 Plaintiff has not “plead[ed] a labeling deficiency that [Bayer] could have corrected using the

 [‘Changes Being Effected,’ or ‘CBE’] regulation.” Gibbons v. Bristol-Myers Squibb Co., 919

 F.3d 699, 708 (2d Cir. 2019) (quotation marks omitted); see also In re Celexa & Lexapro Mktg.

 1
   Plaintiff’s Opposition repeatedly includes vague language purporting to “incorporate” other
 arguments, but without any references to specific pages, briefs, or arguments. See, e.g., Pl. Opp.
 at 4-5 (stating that Plaintiff “incorporates all her preemption arguments by reference,” but
 without citing any particular document), 10 (stating that Plaintiff “has already responded” to
 Bayer’s arguments, but not saying where). Bayer asks that the Court ignore these requests.
 2
   Defendants Bayer Corporation, Bayer Healthcare LLC and Bayer Healthcare Pharmaceuticals
 Inc. will be collectively referred to as “Bayer.” Plaintiff Kimberly Gremo will be referred to as
 “Plaintiff.”
                                                  1



 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 6 of 16 PageID: 1825




 & Sales Practices Litig., 779 F.3d 34, 41 (1st Cir. 2015) (similar). Contrary to Plaintiff’s

 assertions, Gibbons and Celexa correctly applied federal preemption principles and no court of

 appeals has disagreed with them. They are also consistent with Merck Sharp & Dohme Corp. v.

 Albrecht, in which the defendants conceded that the plaintiffs had satisfied the CBE regulation—

 the point Bayer emphatically disputes here. 139 S. Ct. 1668, 1675 (2019).

         Further, Plaintiff does not even mention—let alone distinguish—opinions from three

 federal courts all finding preempted failure-to-warn claims in cases alleging injury from retained

 gadolinium from Magnevist exposure in patients with normal kidney function. See McGrath v.

 Bayer HealthCare Pharm. Inc., 393 F. Supp. 3d 161 (E.D.N.Y. 2019); Klein v. Bayer

 HealthCare Pharm. Inc., No. 2:18-cv-01424, 2019 WL 3945652, at *5 (D. Nev. Aug. 21, 2019);

 Goodell v. Bayer HealthCare Pharm. Inc., No. 18-cv-10694, 2019 WL 4771136, at *3 (D. Mass.

 Sept. 30, 2019). Critically, all three cases post-date Albrecht.

         A.        Gibbons, Celexa, McGrath, Klein, and Goodell Are Consistent with Albrecht
                   and Show that Plaintiff Must Plead a Labeling Deficiency that Could Have
                   Been Corrected Using the CBE Regulation

         Plaintiff incorrectly claims Albrecht overruled voluminous authority stating that she must

 plead facts satisfying the CBE regulation—an argument courts have squarely rejected. Analysis

 of FDCA preemption proceeds in two steps. First, “a plaintiff must plead ‘a labeling deficiency

 that Defendants could have corrected using the CBE regulation.’” Gibbons, 919 F.3d at 708

 (brackets omitted); McGrath, 393 F. Supp. 3d at 168-69 (same); Klein, 2019 WL 3945652, at *5

 (same); Goodell, 2019 WL 4771136, at *4 (same). Only after a plaintiff satisfies that burden

 does the second step arise: “the party asserting a preemption defense [must] demonstrate that

 there is ‘clear evidence that the FDA would not have approved a change’ to the prescription

 drug’s label.” Gibbons, 919 F.3d at 708 (brackets omitted); see also In re Celexa, 779 F.3d at 41.
                                                 2



 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 7 of 16 PageID: 1826




         Albrecht—and In re Fosamax 3 —addressed only the second step, concerning “clear

 evidence” that the FDA would have rejected a label change. 139 S. Ct. at 1672. Indeed, in

 Albrecht, the Court noted that the CBE regulation must first allow a manufacturer to change its

 prescription-drug label before the “clear evidence” issue arises. Id. at 1673, 1679. But the

 Albrecht defendant “conceded that the FDA’s CBE regulation would have permitted [it] to try

 to change the label to add [the desired] warning.” Id. at 1675 (emphasis added). Thus, the

 Albrecht Court’s analysis only considered the second, “clear evidence” test, and the two-step

 analysis articulated in Gibbons and In re Celexa continues to be consistent with Albrecht.

 McGrath explained as much, writing that “[i]n Albrecht, the drug manufacturer conceded that the

 FDA’s CBE regulation would have permitted it to try to change the label to add a warning,”

 which differed from McGrath, where “Plaintiff has not pleaded a plausible claim that the CBE

 regulation would have permitted Bayer to change the Magnevist label to reflect risks associated

 with gadolinium retention.”4 393 F. Supp. 3d at 170 (quotation marks and brackets omitted).

         Further, requiring Plaintiff to plead facts satisfying the CBE regulation is appropriate

 because “federal law expressly forbids a manufacturer from changing its label after the label has

 received FDA approval unless such changes are made pursuant to the [‘Changes Being

 Effected,’ or ‘CBE’] regulation.” Utts v. Bristol-Myers Squibb Co., 226 F. Supp. 3d 166, 184-85

 (S.D.N.Y. 2016) (emphasis added). Because labeling changes are prohibited by default, plaintiffs

 must plead that their claims fit within the narrow exception where a manufacturer is permitted to


 3
   In re Fosamax (Alendronate Sodium) Prods. Liab. Litig., 852 F.3d 268 (3d Cir. 2017), is the
 Third Circuit opinion reversed by Albrecht.
 4
   Plaintiff also claims Wyeth v. Levine, 555 U.S. 555 (2009), absolves her of the need to show the
 CBE regulation is satisfied. That is not so. There, the Court stated that evidence showed the
 defendant could have satisfied the CBE regulation. Id. at 569.
                                                  3



 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 8 of 16 PageID: 1827




 act.5 That is also why the Supreme Court has dismissed claims at the motion-to-dismiss stage

 after determining that the manufacturer could not use the CBE regulation to change its drug

 label. See PLIVA, Inc. v. Mensing, 564 U.S. 604, 624 (2011) (dismissing claim where it was not

 possible for the defendant to use “the CBE regulation . . . to unilaterally strengthen its warning”

 (quotation marks omitted)).

         B.        Plaintiff Identifies No “Newly Acquired Information” That Would Have
                   Permitted Bayer to Add a Warning to Magnevist’s Label

         Plaintiff identifies no new evidence showing a “reasonable evidence of a causal

 association” between gadolinium retention from Magnevist and any “clinically significant”

 “adverse reaction[],” as was required to change Magnevist’s label. See Bayer Mot. at 7-11.

                   1.    Plaintiff points to nothing permitting Bayer to add her proposed
                         warning at the relevant time

         Plaintiff does not show that her allegations satisfy the CBE regulation. As Bayer’s

 Motion argued, see Bayer Mot. at 7-11, and as Plaintiff does not dispute, see Pl. Opp. at 4-7,

 Plaintiff must show that Bayer could have satisfied the CBE regulation’s requirements to add

 Plaintiff’s desired warning—that gadolinium retention causes adverse health effects in patients

 with normal kidney function—based on information arising between June 10, 2014 and July 15,

 2014. That is because Plaintiff claims she used Magnevist only once, on July 15, 2014, Am.

 Compl. ¶ 164, which means the FDA gave approval in June 2014 for the label that was operative




 5
   This general prohibition accompanied by a limited exception distinguishes pharmaceutical
 labeling from other areas where federal law prohibits only a small minority of private activities.
 See, e.g., Bedoya v. Am. Eagle Express Inc., 914 F.3d 812, 824 (3d Cir. 2019) (holding that
 federal aviation laws did not preempt state claims because the claims had no “effect on [air]
 carrier prices, routes, or services,” the federal statute’s narrow area of coverage).
                                                     4



 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 9 of 16 PageID: 1828




 when she used the product.6 See Goodell, 2019 WL 4771136, at *4 (claims preempted where

 “complaint does not cite any newly acquired information that arose after the FDA’s approval of

 Magnevist’s revised label in 2007 and before Plaintiff was administered Magnevist in 2010”);

 Maze v. Bayer Healthcare Pharm. Inc., No. 4:18-cv-21, 2019 WL 1062387, at *2 (E.D. Tenn.

 Mar. 6, 2019) (similar). Plaintiff does not respond to Bayer’s argument that the Complaint

 includes no information occurring between June 10, 2014 and July 15, 2014. See Bayer Mot. at

 8-9. That means her claims are preempted.

         Plaintiff also fails to dispute Bayer’s argument that nothing in the Complaint would have

 permitted Bayer to add Plaintiff’s desired warning at any time before she used Magnevist in July

 2014. She ignores this argument in her response to Bayer. In her response to Mallinckrodt,

 Plaintiff points only to two specific articles—one released in 2018 and another in 2017. See Pl.

 Opp. to Mallinckrodt Mot. at 14-15. Both articles were thus published after Plaintiff used

 Magnevist in 2014, and Bayer could not have given Plaintiff additional warnings based on these

 post-use publications. Moreover, neither article showed new evidence demonstrating a causal

 association between gadolinium retention from Magnevist and negative symptoms in humans

 with normal kidney function. One considered the effects of gadolinium on rats, not humans, and

 identified only gadolinium retention, not any adverse effects, in the rats.7 The other, a review

 article presenting no new evidence, said reports that GBCAs cause negative symptoms in persons

 with normal kidney function “are anecdotal” and GBCAs have “an excellent overall safety

 6
   See Coronato Cert., Ex. C, 6/2014 Magnevist Letter at 1, 3, https:// www.accessdata.fda.gov/
 drugsatfda_docs/appletter/2014/019596Orig1s057,021037Orig1s030ltr.pdf; Coronato Cert., Ex.
 D, June 2014 Magnevist Label, https:// www.accessdata.fda.gov/drugsatfda_docs/label/2014/
 019596s057lbl.pdf.
 7
   Lohrke, Histology and Gadolinium Distribution in the Rodent Brain, 52 Invest. Radiol. (2017),
 https:// www.ncbi.nlm.nih.gov/pubmed/28323657 (abstract).
                                               5



 ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 10 of 16 PageID: 1829




  profile.” 8 Plaintiff otherwise refers without explanation to numerous pages of her Complaint

  without addressing Bayer’s arguments showing why those allegations are irrelevant. See Bayer

  Mot. at 9-10; Pl. Opp. at 2, 4-5.

                    2.   Plaintiff does not argue that the FDA was unaware of any information
                         in the Complaint

          Nor does Plaintiff dispute that her Amended Complaint fails to allege information

  unknown to the FDA—an independent reason her claims are preempted. Bayer Mot. at 11. Bayer

  can only change Magnevist’s label based on “newly acquired information” that “reveal[s] risks

  of a different type or greater severity or frequency than previously included in submissions to the

  FDA.” Gibbons, 919 F.3d at 708 (citation omitted). Plaintiff does not allege such information.

          C.        Clear Evidence Shows that the FDA Would Have Rejected Plaintiff’s
                    Proposed Label Change

          Plaintiff also fails to rebut Bayer’s independent argument that “clear evidence” shows the

  FDA would not have approved the warning she desired. The “clear evidence” standard generally

  requires that the FDA was “fully informed . . . of the justifications for the warning” Plaintiffs

  claim was needed, “and that the FDA, in turn . . . would not approve changing the drug’s label to

  include that warning.”9 Albrecht, 139 S. Ct. at 1678.

          Plaintiff mischaracterizes the 2018 class-wide GBCA label change and OptiMark’s 2016

  label change—both regarding gadolinium retention—to argue that the FDA would have




  8
    Runge, Dechelation, 53 Invest. Radiol. 571, 576 (2018), https:// boris.unibe.ch/125584/1/
  Dechelation__Transmetalation___Consequences_and.1.pdf.
  9
    Despite claiming otherwise, Plaintiff cites no case requiring the manufacturer to have proposed
  a specific label to the FDA to demonstrate “clear evidence” that a given warning would have
  been disallowed. See, e.g., Pl. Opp. to Mallinckrodt at 8.
                                                   6



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 11 of 16 PageID: 1830




  permitted Bayer to warn of negative symptoms allegedly caused by retention.10 See Pl. Opp. at

  7; Pl. Opp. to Mallinckrodt Mot. at 9; Am. Compl. ¶¶ 152-53. That is wrong. In Davis v.

  McKesson Corp., a federal court explained that the 2017 FDA Advisory Committee Plaintiff

  discusses, see Pl. Opp. at 7, decided that no such warning was appropriate after thorough

  investigation of exactly this subject. See Davis, No. 18-cv-1157, 2019 WL 3532179, at *5 (D.

  Ariz. Aug. 2, 2019). As Davis recounted, “[t]he [advisory committee’s] chair . . . summarized the

  committee’s views in these words: ‘I think there is fair uniformity that there is no evidence of a

  causal relationship between the symptoms and signs in patients with normal renal function and

  the retention of gadolinium.’” Id. (emphasis added). That statement, along with the FDA’s

  approval of the 2018 Magnevist label—a formal agency action—which states that “clinical

  consequences of gadolinium retention have not been established in patients with normal renal

  function,” exhibits by “clear evidence” that the FDA would have rejected the desired warning.

          D.        Any Design Defect Claim Is Preempted

          Plaintiff also fails to rescue her design defect claim. Plaintiff’s “design defect” theory is

  that Bayer should have stopped selling Magnevist and instead sold its product Gadavist. Pl. Opp.

  to Mallinckrodt at 15-17. But the Supreme Court explicitly rejected such reasoning in Mut.

  Pharm. Co., Inc., v. Bartlett, stating that requiring a drug manufacturer “not to make [a given

  product] at all” is “incompatible with our pre-emption jurisprudence.” 570 U.S. 472, 488 (2013).

  The Court explained that “if the option of ceasing to act defeated a claim of impossibility,


  10
    Both the OptiMark label change and the 2018 class-wide label change came after Plaintiff
  used Magnevist. And neither states gadolinium retention from GBCAs harms persons with
  normal kidneys. As Plaintiff pleads, OptiMark’s label stated that “GBCAs have been associated
  with the development of NSF in patients with renal impairment,” but “[t]he clinical significance
  of gadolinium retention in the body and brain is otherwise unknown.” Am. Compl. ¶ 153.
                                                   7



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 12 of 16 PageID: 1831




  impossibility pre-emption would be ‘all but meaningless.’” Id. Further, Bartlett explained that

  “[o]nce a drug—whether generic or brand-name—is approved, the manufacturer is prohibited

  from making any major changes to the ‘qualitative or quantitative formulation of the drug

  product, including active ingredients,’” which preempts state law requiring manufacturers to

  “alter [the] composition” of a drug. Id. at 477, 490; see also Yates v. Ortho-McNeil-Janssen

  Pharm., Inc., 808 F.3d 281, 300 (6th Cir. 2015).

  III.    PLAINTIFF’S CLAIMS ARE TIME-BARRED

          Plaintiff failed to rebut Bayer’s statute-of-limitations argument based on a January 2015

  GoFundMe page where Plaintiff’s husband sought to raise funds for Plaintiff’s chelation

  therapy—a treatment frequently used by persons claiming “gadolinium toxicity” or “Gadolinium

  Deposition Disease.” See Bayer Mot. at 15-18. In response, Plaintiff erroneously claims that this

  Court may not ever consider “extrinsic facts” in weighing a motion to dismiss. See Pl. Opp. at 8.

  That is not so. “When considering a Rule 12(b)(6) motion . . . the Court may consider ‘items

  subject to judicial notice, matters of public record, orders, [and] items appearing in the record of

  the case.” In re Valeant Pharm. Int’l, Inc., Sec. Litig., No. 15-cv-7658, 2019 WL 2724075, at *3

  (D.N.J. June 30, 2019) (emphasis added). Here, Bayer asked the Court to take judicial notice of

  the GoFundMe page. See Bayer Mot. at 16-17 & n.10.

          Further, Plaintiff does not explain how the treatment referenced in the GoFundMe page

  for “metal poisoning” related to anything other than “gadolinium toxicity” or “Gadolinium

  Deposition Disease.” See Bayer Mot. at 16-17; Pl. Opp. at 9-10. Instead, without any authority,




                                                   8



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 13 of 16 PageID: 1832




  Plaintiff makes vague claims about the possible uses of “chelation therapy” for other conditions.

  See Pl. Opp. at 9. Bayer reiterates its request for dismissal on statute-of-limitations grounds.11

  IV.     PLAINTIFF’S CLAIMS ARE BARRED BY STATE-LAW DOCTRINES AND
          FEDERAL PLEADING RULES

          A.        Plaintiff’s Claims Are Barred by New Jersey’s Super-Presumption of
                    Adequacy for FDA-Approved Warnings

          Plaintiff also fails to overcome New Jersey’s super-presumption of adequacy. Plaintiff

  agrees that she must rebut the super-presumption to succeed on her claims, agrees that state law

  provides only three ways to do so, and concedes that her Complaint fails to satisfy one of the

  three. See Bayer Mot. at 19-21; Pl. Opp. at 10-11. But in an effort to dodge the presumption,

  Plaintiff cites state pleading standards purportedly showing she need not plead facts clearing the

  presumption. Pl. Opp. at 11. That is a mistake: claims in federal court are governed by federal,

  not state, pleading standards. See, e.g., Adams v. Teamsters Local 115, 214 F. App'x 167, 175

  (3d Cir. 2007). And under federal standards, the “complaint must set forth . . . allegations

  respecting all the material elements necessary to sustain recovery.” Egli v. Chester Cty. Library

  Sys., No. 18-cv-4012, 2019 WL 3777032, at *2 (E.D. Pa. Aug. 12, 2019) (quotation marks

  omitted). For that reason, federal courts have held that plaintiffs must plead facts satisfying

  similar state presumptions. Murthy v. Abbott Labs., 847 F. Supp. 2d 958, 976 (S.D. Tex. 2012)

  (granting motion to dismiss where plaintiff “identified no . . . exception” to Texas presumption

  of non-liability). Further, Plaintiff’s single sentence claiming that she has satisfied two of these

  standards utterly fails to address Bayer’s contrary arguments. See Pl. Opp. at 10-11; Bayer Mot.

  at 20-21.

  11
     Plaintiff’s one-sentence reference to tolling does not explain how she was unaware of any
  claim when the GoFundMe page demonstrates otherwise.
                                                   9



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 14 of 16 PageID: 1833




          B.        Plaintiff’s Express Warranty Claim Should Be Dismissed Because Plaintiff
                    Failed to Plead a Specific Warranty.

          Plaintiff ignores Bayer’s argument that her express-warranty claim is insufficiently

  specific and must be dismissed. See Bayer Mot. at 21-23 (citing Mendez v. Shah, 28 F. Supp. 3d

  282, 294 (D.N.J. 2014)). In Shah, the court rejected the plaintiff’s claim that an express warranty

  was conveyed via “sale and marketing personnel” in “literature, on-line and in television or other

  advertising” as merely a “general averment” failing to “allege the specific affirmation, promise

  or guarantee made by [the defendant].” Id. at 295. Here, likewise, Plaintiff alleged that Bayer

  “expressly warranted, by way of affirmation, promise, and/or description in their product

  labeling, marketing, advertising, promotion, and educational efforts” that Magnevist is generally

  safe for people with normal kidneys. Am. Compl. ¶ 209. Plaintiff failed to plead any specific

  warranty, how it became the basis of a bargain, and how it was breached. Bayer Mot. at 22.

          C.        Plaintiff Concedes that “Count IV” Does Not Make Any Claims

          Plaintiff clarifies that her fourth count does not allege any independent claims. Pl. Opp. at

  11. Bayer respectfully requests that the Court’s order on this motion reflect that concession.12

          D.        New Jersey Law Bars Plaintiff’s Request for Punitive Damages

          Plaintiff similarly fails to overcome Bayer’s argument that punitive damages for FDA-

  approved drugs are barred by the NJPLA, and that the New Jersey Appellate Division has held

  that the sole exception to that bar is preempted. Bayer Mot. at 24-25 (citing McDarby v. Merck &

  Co., Inc., 401 N.J. Super. 10, 94 (App. Div. 2008)). Plaintiff’s Opposition to Mallinckrodt

  concedes that “in McDarby, the New Jersey appellate court held that a plaintiff’s proof under

  Section 58C-5(c)”—the sole exception to the punitives bar—“would amount to a claim of ‘fraud
  12
    Bayer reserves its right to challenge Plaintiff’s inadequate allegations of fraud if she later
  argues that the statute of limitations should be tolled.
                                                    10



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 15 of 16 PageID: 1834




  on the FDA’ and would thus be preempted under the Supreme Court’s holding in Buckman.” Pl.

  Opp. to Mallinckrodt at 21.

          Plaintiff argues that “McDarby’s interpretation of Buckman was simply wrong and

  should not be applied here,” id. at 21, even though McDarby has been adopted by this Court and

  New Jersey appellate panels. See, e.g., Stanger v. APP Pharms., LLC, No. 09-cv-5166, 2010 WL

  4941451, at *4 (D.N.J. Nov. 30, 2010); Baker v. APP Pharms., No. 09-cv-05725, 2010 WL

  4941454, at *4 (D.N.J. Nov. 30, 2010) (same). Plaintiff relies on a single, widely criticized case,

  Forman v. Novartis Pharm. Corp., 793 F. Supp. 2d 598 (E.D.N.Y. 2011). In rejecting Forman’s

  analysis, another court “fail[ed] to see a relevant distinction” between the fraud-on-the-FDA

  claims precluded by Buckman and the sole exception to the New Jersey punitive damages statute,

  since the statute allows punitive awards only when a defendant “knowingly withheld or

  misrepresented information required to be submitted under the agency’s regulations,” N.J.S.A. §

  2A:58C-5. See Guenther v. Novartis Pharm. Corp., No. 6:08-cv-456, 2013 WL 1225391, at *4

  (M.D. Fla. Mar. 27, 2013). Bayer thus asks the Court to decline Plaintiff’s invitation to rewrite

  New Jersey law.

          E.        Plaintiff Fails to Plead an Injury That Was Reasonably Foreseeable to Bayer

          Plaintiff fails to rebut Bayer’s argument that, like the plaintiff in McGrath, she did not

  “adequately plead[] that her injuries were . . . reasonably foreseeable to Bayer.” 393 F. Supp. 3d

  at 172 (emphasis added). Plaintiff’s opposition to Bayer ignores the point, and her opposition to

  Mallinckrodt fails to address Bayer’s arguments explaining why none of her allegations

  demonstrate that gadolinium retention from Magnevist harms persons with normal kidney

  function. Bayer Mot. at 9-10. Instead, Plaintiff cites broad swaths of her Complaint and offers

  conclusory statements about NSF, a condition that she admits only affects persons with impaired
                                                11



  ME1 31639165v.3
Case 1:19-cv-13432-NLH-AMD Document 91 Filed 10/15/19 Page 16 of 16 PageID: 1835




  kidney function and which has never been diagnosed in anyone with normal kidneys. See Bayer

  Mot. at 10, 26-27; Pl. Opp. to Mallinckrodt at 19. She also claims her physician diagnosed her

  with “GDD,” but does not explain how this purported diagnosis put Bayer on notice of claimed

  injuries before she used Magnevist in 2014.13 Pl. Opp. to Mallinckrodt at 19.

                                          CONCLUSION

          Bayer respectfully requests dismissal with prejudice.

  Dated: October 15, 2019                      Respectfully submitted,

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  13
     Plaintiff did not cure her failure to plead in accordance with Rule 8’s requirements, and Bayer
  also requests dismissal on that basis. See Bayer Mot. at 28.
                                                     12



  ME1 31639165v.3
